   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 1 of 27


   Deborah Deitsch-Perez
   Michael P. Aigen
   STINSON LLP
   2200 Ross Avenue, Suite 2900
   Dallas, Texas 75201
   Telephone: (214) 560-2201
   Facsimile: (214) 560-2203
   Email: deborah.deitschperez@stinson.com
   Email: michael.aigen@stinson.com

   COUNSEL FOR THE DUGABOY INVESTMENT
   TRUST




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

   In re                                               §
                                                       §
   HIGHLAND SELECT EQUITY MASTER                       §       Case No. 23-31037-swe7
   FUND, L.P.                                          §
                                                       §       (Chapter 7)
               Debtor.                                 §

    APPENDIX IN SUPPORT OF THE DUGABOY INVESTMENT TRUST'S RESPONSE
                     TO EMERGENCY MOTION IN LIMINE

    Exhibit                                  Document                               Appendix
                                                                                     Page(s)

           1        Email from Counsel for HCMLP to Counsel for Dugaboy and        App. 001 –
                    others dated October 13, 2023 regarding Select – Motion in     App. 002
                    Limine/Adjournment

           2        Email from Hudson Jobe to Jenni Bergreen dated September 15,   App. 003 –
                    2023 regarding Highland Select Equity Master Fund, Case No.    App. 016
                    23-31037-swe7, Highland Select Equity Fund GP, LLC, Case
                    No. 23-31039-mvl7 – Motion to Transfer

           3        Email from Jenni Bergreen to Hudson Jobe dated September 18,   App. 011 –
                    2023 regarding **CORRECTION** Highland Select Equity           App. 017
                    Master Fund, Case No. 23-31037-swe7, Highland Select Equity
                    Fund GP, LLC, Case No. 23-31039-mvl7 – Motion to Transfer




                                                   1
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 2 of 27



        4         Email from George Demo to counsel for the parties dated             App. 018 -
                  September 13, 2023 regarding Highland Select Equity Master          App. 023
                  Fund, Case No. 23-31037-swe7, Highland Select Equity Fund
                  GP, LLC, Case No. 23-31039-mvl7 – Motion to Transfer

        5         Email from Jeremy Root to counsel for the parties dated July 17,    App. 024 –
                  2023 regarding Highland Select Equity Master Fund, Case No.         App. 025
                  23-31037-swe7, Highland Select Equity Fund GP, LLC, Case
                  No. 23-31039-mvl7 – Objections to Exhibit and Witness Lists



  Dated: October 17, 2023                               Respectfully submitted,

                                                        /s/ Deborah Deitsch-Perez
                                                        Deborah Deitsch-Perez
                                                        State Bar No. 24036072
                                                        Michael P. Aigen
                                                        State Bar No. 24012196
                                                        STINSON LLP
                                                        2200 Ross Avenue, Suite 2900
                                                        Dallas, Texas 75201
                                                        (214) 560-2201 telephone
                                                        (214) 560-2203 facsimile
                                                        Email: deborah.deitschperez@stinson.com
                                                        Email: michael.aigen@stinson.com

                                                        Counsel for The Dugaboy Investment Trust

                                    CERTIFICATE OF SERVICE

            I certify that on October 17, 2023, a true and correct copy of the foregoing document was

  served via the Court’s Electronic Case Filing system to the parties that are registered or

  otherwise entitled to receive electronic notices in this proceeding.


                                                                /s/ Deborah Deitsch-Perez
                                                                Deborah Deitsch-Perez




                                                    2
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 3 of 27




        EXHIBIT 1


                                                                           App. 001
        Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
     Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 4 of 27



From:                                     Gregory V. Demo <GDemo@pszjlaw.com>
Sent:                                     Friday, October 13, 2023 4:39 PM
To:                                       alexanderj@passmanjones.com; Deitsch-Perez, Deborah R.; 'Hudson Jobe'
Cc:                                       Jeff Pomerantz; John A. Morris
Subject:                                  Select - Motion in Limine/Adjournment



External Email – Use Caution

Counsel,

We will be filing a motion in limine Monday to exclude recusal evidence concerning Dugaboy’s objection to the motions
to reassign the Select cases to Judge Jernigan. If the Trustee or Dugaboy opposes that relief, Highland requests,
alternatively, that the hearing be adjourned to October 30 or such later date as the parties may be heard on the ground
that my partner, John Morris, has an in-person evidentiary hearing in Delaware on October 20 and is unavailable to
conduct an evidentiary hearing in Dallas the day before.

Please let us know if you consent to such relief by Monday at 2:00 p.m. ET.

If all parties agree that the hearings on the motions to re-assign will not be evidentiary hearings, we are happy moving
forward on October 19.

If anyone opposes our motion in limine, we can make ourselves available for a meet and confer on the briefing schedule
after it’s filed.

Your prompt response is appreciated.

Best,
Greg

Gregory V. Demo
Pachulski Stang Ziehl & Jones LLP
Tel: 212.561.7730 | Cell: 312.662.3573 | Fax: 212.561.7777
GDemo@pszjlaw.com
vCard | Bio | LinkedIn




Los Angeles | San Francisco | Wilmington, DE | New York | Houston




                                                                    1
                                                                                                           App. 002
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 5 of 27




        EXHIBIT 2


                                                                           App. 003
       Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
    Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 6 of 27



From:                            TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
Sent:                            Monday, September 18, 2023 7:46 AM
To:                              Hudson Jobe
Cc:                              TXNB SWE Settings; Deitsch-Perez, Deborah R.; Scott; Root, Jeremy A.;
                                 alexanderj@passmanjones.com; chandlers@passmanjones.com;
                                 zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com;
                                 hwinograd@pszjlaw.com; MHayward@haywardfirm.com; jpomerantz@pszjlaw.com;
                                 ustpregion06.da.ecf@usdoj.gov; Nita Chancellor; TXNB MVL_Settings
Subject:                         Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7,
                                 Highland Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer
Attachments:                     WebEx Hearing Instructions for Judge Larson.pdf



External Email – Use Caution

Good morning Mr. Jobe,

Judge Larson's hearing on 10/19 at 1:30PM will be hybrid, with parties either appearing in-person or
via WebEx. I have reserved the time and will look for your notice of hearing.

Thank you,

Dawn Harden




From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Sent: Monday, September 18, 2023 7:37 AM
To: Hudson Jobe <hjobe@qslwm.com>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
<alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>;
jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>;
MHayward@haywardfirm.com <MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com
<jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>; Nita Chancellor
<nchancellor@qslwm.com>; TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

Thanks for confirming, Mr. Jobe. For Judge Everett's case (23-31037) I've reserved 90 mins. for
this motion on 10/19 at 1:30 PM. The hearing will be conducted in a hybrid format; parties
                                                          1
                                                                                                   App. 004
        Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
     Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 7 of 27
may make their appearances either in person in Judge Everett's courtroom or via Webex. Will
you please file a notice of hearing that includes that information, Judge Everett's Webex link,
and a copy of his Webex instructions.

Thank you.

Jenni




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Friday, September 15, 2023 4:53 PM
To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
<alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>;
jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>;
MHayward@haywardfirm.com <MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com
<jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>; Nita Chancellor
<nchancellor@qslwm.com>
Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:

Thank you – the parties have cleared 10/19. I will notice both hearings for that same day. Can you please confirm
whether these should be noticed for in person, hybrid, or zoom? I believe we have parties that would like to appear
remotely.

Sincerely,

Hudson Jobe
Board Certified Business Bankruptcy Attorney
Texas Board of Legal Specialization
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800, Dallas TX 75201
Direct: (214) 880-1858 | Fax: (214) 871-2111
Email: hjobe@qslwm.com


From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Sent: Friday, September 15, 2023 3:16 PM
To: Hudson Jobe <hjobe@qslwm.com>
                                                           2
                                                                                                     App. 005
       Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
    Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 8 of 27
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com; chandlers@passmanjones.com;
zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com; hwinograd@pszjlaw.com;
MHayward@haywardfirm.com; jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


I want to alert you all that I will be out of the office from 9/25 - 10/9. To avoid any setting
confusion while I'm away, I'd love to have the setting nailed down prior to 9/22. Have the
parties discussed the setting that was offered (10/19 at 10:30 AM)? I can also find options for
you prior to 10/19 if the parties don't mind this case being set on a different dates than the
case before Judge Larson.


Jenni




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Wednesday, September 13, 2023 11:23 AM
To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
<alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>;
jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>;
MHayward@haywardfirm.com <MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com
<jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>
Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:

Thank you – I have sent a separate email to parties to discuss to keep from spamming you with the traffic, and yes will
handle confirmation.

Hudson Jobe
Board Certified Business Bankruptcy Attorney



                                                            3
                                                                                                       App. 006
        Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
     Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 9 of 27
Texas Board of Legal Specialization
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800, Dallas TX 75201
Direct: (214) 880-1858 | Fax: (214) 871-2111
Email: hjobe@qslwm.com


From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Sent: Wednesday, September 13, 2023 11:21 AM
To: Hudson Jobe <hjobe@qslwm.com>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com; chandlers@passmanjones.com;
zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com; hwinograd@pszjlaw.com;
MHayward@haywardfirm.com; jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


Hello, all. Dawn and I discussed settings where both judge's calendars will allow for a 90-min.
hearing on the same day. Dawn has offered you 10/19 in the PM. Judge Everett has time
available on 10/19 at 10:30 AM. However, if it's not important for the parties to have the
motions heard on the same day, I can find setting options for you as early as the week of 9/25
re the case in Judge Everett's court.

Would you all please discuss amongst yourselves and then Mr. Jobe, please let me know the
group's decision.

Thank you.

Jenni




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Monday, September 11, 2023 4:38 PM
To: TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
Cc: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; Deitsch-Perez, Deborah R.
<deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>; jeremy.root_stinson.com
<jeremy.root@stinson.com>; alexanderj@passmanjones.com <alexanderj@passmanjones.com>;
chandlers@passmanjones.com <chandlers@passmanjones.com>; zannable@haywardfirm.com
<zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>; jmorris@pszjlaw.com

                                                       4
                                                                                               App. 007
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 10 of 27
<jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>; MHayward@haywardfirm.com
<MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>;
ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:

Ms Harden - yes that is confirmed. My side estimates 40 minutes, and we haven’t received any response from the
various other parties on this email that 40 minutes will not work for the opposition.

Sent from my iPhone


       On Sep 11, 2023, at 4:17 PM, TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov> wrote:


       Dear Mr. Jobe,

       Please confirm the 1.5 hour time estimate will be adequate? I will have to squeeze you in
       between settings and need to make sure I have adequate time to give you.

       Thank you,

       Dawn

       <image.png>


       From: Hudson Jobe <hjobe@qslwm.com>
       Sent: Monday, September 11, 2023 4:10 PM
       To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; TXNB MVL_Settings
       <mvl_settings@txnb.uscourts.gov>
       Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
       jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
       <alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
       zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com
       <gdemo@pszjlaw.com>; jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com
       <hwinograd@pszjlaw.com>; MHayward@HaywardFirm.com <MHayward@HaywardFirm.com>;
       jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov
       <ustpregion06.da.ecf@usdoj.gov>
       Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland
       Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

        CAUTION - EXTERNAL:

       Great, thank you.

       Hudson Jobe
       Board Certified Business Bankruptcy Attorney



                                                          5
                                                                                                   App. 008
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 11 of 27
   Texas Board of Legal Specialization
   Quilling, Selander, Lownds, Winslett & Moser, P.C.
   2001 Bryan Street, Suite 1800, Dallas TX 75201
   Direct: (214) 880-1858 | Fax: (214) 871-2111
   Email: hjobe@qslwm.com


   From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
   Sent: Monday, September 11, 2023 4:03 PM
   To: Hudson Jobe <hjobe@qslwm.com>; TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
   Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
   jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com;
   chandlers@passmanjones.com; zannable@haywardfirm.com; gdemo@pszjlaw.com;
   jmorris@pszjlaw.com; hwinograd@pszjlaw.com; MHayward@HaywardFirm.com;
   jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
   Subject: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland
   Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


   We haven't forgotten about your requested hearing, Mr. Jobe. The judges have
   been busy, but we're hoping to have a setting for both cases soon. We will be in
   touch.

   Jenni


   <image003.jpg>

   From: Hudson Jobe <hjobe@qslwm.com>
   Sent: Thursday, September 7, 2023 8:37 AM
   To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; TXNB MVL_Settings
   <mvl_settings@txnb.uscourts.gov>
   Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
   jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
   <alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
   zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com
   <gdemo@pszjlaw.com>; jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com
   <hwinograd@pszjlaw.com>; MHayward@HaywardFirm.com <MHayward@HaywardFirm.com>;
   jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov
   <ustpregion06.da.ecf@usdoj.gov>
   Subject: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity Fund GP,
   LLC, Case No. 23-31039-MVL7 - Motion to Transfer

   CAUTION - EXTERNAL:


   Ms. Harden and Bergreen,

   The Motions to Reassign/Transfer that my client filed were continued pending discussions, and my
   understanding is that agreements have not been reached. As a result, I would like to see about resetting
   these for hearing in both cases.

                                                        6
                                                                                                App. 009
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 12 of 27

      Could you please let us know available settings beginning September 20? If possible, it would be helpful
      to coordinate the settings together like last time, but I understand that this might not be possible with
      the Courts’ calendars. With respect to time estimates, the movant and Highland Capital would estimate
      their total time at 40 minutes. Assuming a similar response time from other parties, a 1.5-hour setting
      should suffice.

      With respect to zoom appearances, would hybrid or remote-only be available? Thank you for your help
      in coordinating this again.

      Sincerely,

      Hudson Jobe
      Board Certified Business Bankruptcy Attorney
      Texas Board of Legal Specialization
      Quilling, Selander, Lownds, Winslett & Moser, P.C.
      2001 Bryan Street, Suite 1800, Dallas TX 75201
      Direct: (214) 880-1858 | Fax: (214) 871-2111
      Email: hjobe@qslwm.com

       CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
       attachments or clicking on links.


       CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
       attachments or clicking on links.


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attachments or clicking on links.

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attachments or clicking on links.

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attachments or clicking on links.




                                                           7
                                                                                                     App. 010
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 13 of 27




        EXHIBIT 3


                                                                           App. 011
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 14 of 27



From:                            TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Sent:                            Monday, September 18, 2023 7:41 AM
To:                              Hudson Jobe
Cc:                              Deitsch-Perez, Deborah R.; Scott; Root, Jeremy A.; alexanderj@passmanjones.com;
                                 chandlers@passmanjones.com; zannable@haywardfirm.com; gdemo@pszjlaw.com;
                                 jmorris@pszjlaw.com; hwinograd@pszjlaw.com; MHayward@haywardfirm.com;
                                 jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov; Nita Chancellor; TXNB
                                 MVL_Settings
Subject:                         Re: **CORRECTION** - Re: Highland Select Equity Master Fund, Case No. 23-31037-
                                 SWE7, Highland Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to
                                 Transfer



External Email – Use Caution

Correction on the time before Judge Everett (23-31037). The correct time for the hearing
before Judge Everett is 10:30 AM. Sorry I typed prior. : )

Thank you.

Jenni




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Friday, September 15, 2023 4:53 PM
To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
<alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>;
jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>;
MHayward@haywardfirm.com <MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com
<jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>; Nita Chancellor
<nchancellor@qslwm.com>
Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:



                                                          1
                                                                                                   App. 012
       Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
    Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 15 of 27
Thank you – the parties have cleared 10/19. I will notice both hearings for that same day. Can you please confirm
whether these should be noticed for in person, hybrid, or zoom? I believe we have parties that would like to appear
remotely.

Sincerely,

Hudson Jobe
Board Certified Business Bankruptcy Attorney
Texas Board of Legal Specialization
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800, Dallas TX 75201
Direct: (214) 880-1858 | Fax: (214) 871-2111
Email: hjobe@qslwm.com


From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Sent: Friday, September 15, 2023 3:16 PM
To: Hudson Jobe <hjobe@qslwm.com>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com; chandlers@passmanjones.com;
zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com; hwinograd@pszjlaw.com;
MHayward@haywardfirm.com; jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


I want to alert you all that I will be out of the office from 9/25 - 10/9. To avoid any setting
confusion while I'm away, I'd love to have the setting nailed down prior to 9/22. Have the
parties discussed the setting that was offered (10/19 at 10:30 AM)? I can also find options for
you prior to 10/19 if the parties don't mind this case being set on a different dates than the
case before Judge Larson.


Jenni




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Wednesday, September 13, 2023 11:23 AM
To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
<alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
                                                           2
                                                                                                     App. 013
       Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
    Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 16 of 27
zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>;
jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>;
MHayward@haywardfirm.com <MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com
<jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>
Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:

Thank you – I have sent a separate email to parties to discuss to keep from spamming you with the traffic, and yes will
handle confirmation.

Hudson Jobe
Board Certified Business Bankruptcy Attorney
Texas Board of Legal Specialization
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800, Dallas TX 75201
Direct: (214) 880-1858 | Fax: (214) 871-2111
Email: hjobe@qslwm.com


From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
Sent: Wednesday, September 13, 2023 11:21 AM
To: Hudson Jobe <hjobe@qslwm.com>
Cc: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com; chandlers@passmanjones.com;
zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com; hwinograd@pszjlaw.com;
MHayward@haywardfirm.com; jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


Hello, all. Dawn and I discussed settings where both judge's calendars will allow for a 90-min.
hearing on the same day. Dawn has offered you 10/19 in the PM. Judge Everett has time
available on 10/19 at 10:30 AM. However, if it's not important for the parties to have the
motions heard on the same day, I can find setting options for you as early as the week of 9/25
re the case in Judge Everett's court.

Would you all please discuss amongst yourselves and then Mr. Jobe, please let me know the
group's decision.

Thank you.

Jenni




                                                            3
                                                                                                       App. 014
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 17 of 27




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Monday, September 11, 2023 4:38 PM
To: TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
Cc: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; Deitsch-Perez, Deborah R.
<deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>; jeremy.root_stinson.com
<jeremy.root@stinson.com>; alexanderj@passmanjones.com <alexanderj@passmanjones.com>;
chandlers@passmanjones.com <chandlers@passmanjones.com>; zannable@haywardfirm.com
<zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>; jmorris@pszjlaw.com
<jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>; MHayward@haywardfirm.com
<MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>;
ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:

Ms Harden - yes that is confirmed. My side estimates 40 minutes, and we haven’t received any response from the
various other parties on this email that 40 minutes will not work for the opposition.

Sent from my iPhone


       On Sep 11, 2023, at 4:17 PM, TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov> wrote:


       Dear Mr. Jobe,

       Please confirm the 1.5 hour time estimate will be adequate? I will have to squeeze you in
       between settings and need to make sure I have adequate time to give you.

       Thank you,

       Dawn

       <image.png>


       From: Hudson Jobe <hjobe@qslwm.com>
       Sent: Monday, September 11, 2023 4:10 PM
       To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; TXNB MVL_Settings
       <mvl_settings@txnb.uscourts.gov>
       Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
       jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
                                                          4
                                                                                                   App. 015
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 18 of 27
   <alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
   zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com
   <gdemo@pszjlaw.com>; jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com
   <hwinograd@pszjlaw.com>; MHayward@HaywardFirm.com <MHayward@HaywardFirm.com>;
   jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov
   <ustpregion06.da.ecf@usdoj.gov>
   Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland
   Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

   CAUTION - EXTERNAL:

   Great, thank you.

   Hudson Jobe
   Board Certified Business Bankruptcy Attorney
   Texas Board of Legal Specialization
   Quilling, Selander, Lownds, Winslett & Moser, P.C.
   2001 Bryan Street, Suite 1800, Dallas TX 75201
   Direct: (214) 880-1858 | Fax: (214) 871-2111
   Email: hjobe@qslwm.com


   From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
   Sent: Monday, September 11, 2023 4:03 PM
   To: Hudson Jobe <hjobe@qslwm.com>; TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
   Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
   jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com;
   chandlers@passmanjones.com; zannable@haywardfirm.com; gdemo@pszjlaw.com;
   jmorris@pszjlaw.com; hwinograd@pszjlaw.com; MHayward@HaywardFirm.com;
   jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
   Subject: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland
   Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


   We haven't forgotten about your requested hearing, Mr. Jobe. The judges have
   been busy, but we're hoping to have a setting for both cases soon. We will be in
   touch.

   Jenni


   <image003.jpg>

   From: Hudson Jobe <hjobe@qslwm.com>
   Sent: Thursday, September 7, 2023 8:37 AM
   To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; TXNB MVL_Settings
   <mvl_settings@txnb.uscourts.gov>
   Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
   jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
   <alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
   zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com

                                                        5
                                                                                             App. 016
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 19 of 27
      <gdemo@pszjlaw.com>; jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com
      <hwinograd@pszjlaw.com>; MHayward@HaywardFirm.com <MHayward@HaywardFirm.com>;
      jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov
      <ustpregion06.da.ecf@usdoj.gov>
      Subject: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity Fund GP,
      LLC, Case No. 23-31039-MVL7 - Motion to Transfer

       CAUTION - EXTERNAL:


      Ms. Harden and Bergreen,

      The Motions to Reassign/Transfer that my client filed were continued pending discussions, and my
      understanding is that agreements have not been reached. As a result, I would like to see about resetting
      these for hearing in both cases.

      Could you please let us know available settings beginning September 20? If possible, it would be helpful
      to coordinate the settings together like last time, but I understand that this might not be possible with
      the Courts’ calendars. With respect to time estimates, the movant and Highland Capital would estimate
      their total time at 40 minutes. Assuming a similar response time from other parties, a 1.5-hour setting
      should suffice.

      With respect to zoom appearances, would hybrid or remote-only be available? Thank you for your help
      in coordinating this again.

      Sincerely,

      Hudson Jobe
      Board Certified Business Bankruptcy Attorney
      Texas Board of Legal Specialization
      Quilling, Selander, Lownds, Winslett & Moser, P.C.
      2001 Bryan Street, Suite 1800, Dallas TX 75201
      Direct: (214) 880-1858 | Fax: (214) 871-2111
      Email: hjobe@qslwm.com

       CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
       attachments or clicking on links.


       CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
       attachments or clicking on links.


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attachments or clicking on links.

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attachments or clicking on links.

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attachments or clicking on links.




                                                           6
                                                                                                     App. 017
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 20 of 27




        EXHIBIT 4


                                                                           App. 018
       Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
    Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 21 of 27



From:                                     Gregory V. Demo <GDemo@pszjlaw.com>
Sent:                                     Wednesday, September 13, 2023 1:48 PM
To:                                       'Hudson Jobe'; Deitsch-Perez, Deborah R.; Scott; Root, Jeremy A.;
                                          alexanderj@passmanjones.com; chandlers@passmanjones.com;
                                          zannable@haywardfirm.com; John A. Morris; Hayley R. Winograd;
                                          MHayward@haywardfirm.com; Jeff Pomerantz; ustpregion06.da.ecf@usdoj.gov
Subject:                                  RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7,
                                          Highland Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer



External Email – Use Caution

Highland Capital is available on October 19.


Gregory V. Demo
Pachulski Stang Ziehl & Jones LLP
Tel: 212.561.7730 | Cell: 312.662.3573 | Fax: 212.561.7777
GDemo@pszjlaw.com
vCard | Bio | LinkedIn




Los Angeles | San Francisco | Wilmington, DE | New York | Houston




From: Hudson Jobe [mailto:hjobe@qslwm.com]
Sent: Wednesday, September 13, 2023 11:40 AM
To: Deitsch-Perez, Deborah R. <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com; chandlers@passmanjones.com;
zannable@haywardfirm.com; Gregory V. Demo <GDemo@pszjlaw.com>; John A. Morris < jmorris@pszjlaw.com>; Hayley
R. Winograd <hwinograd@pszjlaw.com>; MHayward@haywardfirm.com; Jeff Pomerantz <jpomerantz@pszjlaw.com>;
ustpregion06.da.ecf@usdoj.gov
Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

All – leaving the Court off this email. Please review to ensure I included a complete list. Please reply to this email with
whether Oct 19 works for your client or not.

Hudson Jobe
Board Certified Business Bankruptcy Attorney
Texas Board of Legal Specialization
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800, Dallas TX 75201
Direct: (214) 880-1858 | Fax: (214) 871-2111
Email: hjobe@qslwm.com

                                                                    1
                                                                                                            App. 019
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 22 of 27

From: TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
Sent: Wednesday, September 13, 2023 10:01 AM
To: Hudson Jobe <hjobe@qslwm.com>
Cc: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; Deitsch-Perez, Deborah R.
<deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>; jeremy.root_stinson.com
<jeremy.root@stinson.com>; alexanderj@passmanjones.com; chandlers@passmanjones.com;
zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com; hwinograd@pszjlaw.com;
MHayward@haywardfirm.com; jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov; TXNB MVL_Settings
<mvl_settings@txnb.uscourts.gov>
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer
Importance: High


Good morning Mr. Jobe,

Unfortunately, I just can't work you in for 1.5 hours in September due to a trial and various matters
already set. Jenni and I have time on October 19 th to hear these motions. Judge Larson can hear this
at 1:30 on Oct. 19th. Jenni will respond with her hearing start time that morning.

Please let me know if parties are available that day for a hearing?

I look forward to hearing from you.

Dawn




From: Hudson Jobe <hjobe@qslwm.com>
Sent: Monday, September 11, 2023 4:38 PM
To: TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>
Cc: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; Deitsch-Perez, Deborah R.
<deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>; jeremy.root_stinson.com
<jeremy.root@stinson.com>; alexanderj@passmanjones.com <alexanderj@passmanjones.com>;
chandlers@passmanjones.com <chandlers@passmanjones.com>; zannable@haywardfirm.com
<zannable@haywardfirm.com>; gdemo@pszjlaw.com <gdemo@pszjlaw.com>; jmorris@pszjlaw.com
<jmorris@pszjlaw.com>; hwinograd@pszjlaw.com <hwinograd@pszjlaw.com>; MHayward@haywardfirm.com
<MHayward@haywardfirm.com>; jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>;
ustpregion06.da.ecf@usdoj.gov <ustpregion06.da.ecf@usdoj.gov>
Subject: Re: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

CAUTION - EXTERNAL:

                                                          2
                                                                                                   App. 020
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 23 of 27

Ms Harden - yes that is confirmed. My side estimates 40 minutes, and we haven’t received any response from the
various other parties on this email that 40 minutes will not work for the opposition.

Sent from my iPhone


       On Sep 11, 2023, at 4:17 PM, TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov> wrote:


       Dear Mr. Jobe,

       Please confirm the 1.5 hour time estimate will be adequate? I will have to squeeze you in
       between settings and need to make sure I have adequate time to give you.

       Thank you,

       Dawn

       <image.png>


       From: Hudson Jobe <hjobe@qslwm.com>
       Sent: Monday, September 11, 2023 4:10 PM
       To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; TXNB MVL_Settings
       <mvl_settings@txnb.uscourts.gov>
       Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
       jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com
       <alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
       zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com
       <gdemo@pszjlaw.com>; jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com
       <hwinograd@pszjlaw.com>; MHayward@HaywardFirm.com <MHayward@HaywardFirm.com>;
       jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov
       <ustpregion06.da.ecf@usdoj.gov>
       Subject: RE: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland
       Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer

        CAUTION - EXTERNAL:

       Great, thank you.

       Hudson Jobe
       Board Certified Business Bankruptcy Attorney
       Texas Board of Legal Specialization
       Quilling, Selander, Lownds, Winslett & Moser, P.C.
       2001 Bryan Street, Suite 1800, Dallas TX 75201
       Direct: (214) 880-1858 | Fax: (214) 871-2111
       Email: hjobe@qslwm.com


       From: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>
       Sent: Monday, September 11, 2023 4:03 PM
       To: Hudson Jobe <hjobe@qslwm.com>; TXNB MVL_Settings <mvl_settings@txnb.uscourts.gov>

                                                            3
                                                                                                   App. 021
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 24 of 27
   Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
   jeremy.root_stinson.com <jeremy.root@stinson.com>; alexanderj@passmanjones.com;
   chandlers@passmanjones.com; zannable@haywardfirm.com; gdemo@pszjlaw.com;
   jmorris@pszjlaw.com; hwinograd@pszjlaw.com; MHayward@HaywardFirm.com;
   jpomerantz@pszjlaw.com; ustpregion06.da.ecf@usdoj.gov
   Subject: [EXTERNAL] - Re: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland
   Select Equity Fund GP, LLC, Case No. 23-31039-MVL7 - Motion to Transfer


   We haven't forgotten about your requested hearing, Mr. Jobe. The judges have
   been busy, but we're hoping to have a setting for both cases soon. We will be in
   touch.

   Jenni


   <image003.jpg>

   From: Hudson Jobe <hjobe@qslwm.com>
   Sent: Thursday, September 7, 2023 8:37 AM
   To: TXNB SWE Settings <swe_settings@txnb.uscourts.gov>; TXNB MVL_Settings
   <mvl_settings@txnb.uscourts.gov>
   Cc: 'Deitsch-Perez, Deborah R.' <deborah.deitschperez@stinson.com>; Scott <scott@scottseidel.com>;
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   <alexanderj@passmanjones.com>; chandlers@passmanjones.com <chandlers@passmanjones.com>;
   zannable@haywardfirm.com <zannable@haywardfirm.com>; gdemo@pszjlaw.com
   <gdemo@pszjlaw.com>; jmorris@pszjlaw.com <jmorris@pszjlaw.com>; hwinograd@pszjlaw.com
   <hwinograd@pszjlaw.com>; MHayward@HaywardFirm.com <MHayward@HaywardFirm.com>;
   jpomerantz@pszjlaw.com <jpomerantz@pszjlaw.com>; ustpregion06.da.ecf@usdoj.gov
   <ustpregion06.da.ecf@usdoj.gov>
   Subject: Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity Fund GP,
   LLC, Case No. 23-31039-MVL7 - Motion to Transfer

   CAUTION - EXTERNAL:


   Ms. Harden and Bergreen,

   The Motions to Reassign/Transfer that my client filed were continued pending discussions, and my
   understanding is that agreements have not been reached. As a result, I would like to see about resetting
   these for hearing in both cases.

   Could you please let us know available settings beginning September 20? If possible, it would be helpful
   to coordinate the settings together like last time, but I understand that this might not be possible with
   the Courts’ calendars. With respect to time estimates, the movant and Highland Capital would estimate
   their total time at 40 minutes. Assuming a similar response time from other parties, a 1.5-hour setting
   should suffice.

   With respect to zoom appearances, would hybrid or remote-only be available? Thank you for your help
   in coordinating this again.
                                                       4
                                                                                                  App. 022
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 25 of 27

      Sincerely,

      Hudson Jobe
      Board Certified Business Bankruptcy Attorney
      Texas Board of Legal Specialization
      Quilling, Selander, Lownds, Winslett & Moser, P.C.
      2001 Bryan Street, Suite 1800, Dallas TX 75201
      Direct: (214) 880-1858 | Fax: (214) 871-2111
      Email: hjobe@qslwm.com

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       attachments or clicking on links.


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       attachments or clicking on links.


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attachments or clicking on links.




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                                                                                          App. 023
   Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
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        EXHIBIT 5


                                                                           App. 024
      Case 23-31037-swe7 Doc 53-1 Filed 10/17/23 Entered 10/17/23 11:32:07 Desc
   Appendix Appendix in Support of the Dugaboy Investment Trusts Response to Page 27 of 27



From:                              Root, Jeremy A.
Sent:                              Monday, July 17, 2023 10:34 AM
To:                                alexanderj@passmanjones.com; chandlers@passmanjones.com;
                                   zannable@haywardfirm.com; gdemo@pszjlaw.com; jmorris@pszjlaw.com;
                                   hwinograd@pszjlaw.com; MHayward@HaywardFirm.com; hjobe@qslwm.com;
                                   jpomerantz@pszjlaw.com; scott@scottseidel.com; ustpregion06.da.ecf@usdoj.gov
Cc:                                Deitsch-Perez, Deborah R.
Subject:                           Highland Select Equity Master Fund, Case No. 23-31037-SWE7, Highland Select Equity
                                   Fund GP, LLC, Case No. 23-31039-MVL7 - Objections to Exhibit and Witness Lists


Counsel:

I am writing regarding the upcoming hearings in the Chapter 7 bankruptcy cases of Highland Select Equity Master Fund,
Case No. 23-31037-swe7, and Highland Select Equity Fund GP, LLC, Case No. 23-31039-mvl7. You may have seen that I
was recently admitted pro hac vice to represent the Dugaboy Investment Trust in both matters. I look forward to
getting to know you as these matters move forward.

Thank you for providing us and the Court with your exhibit and witness lists Friday evening. I trust that you received
Dugaboy Investment Trust's exhibit and witness list as well. In order to proceed efficiently on Wednesday, I thought it
would make sense for us to confer in advance about any objections that any party may have to the witnesses or
exhibits.

We have reviewed the exhibit lists filed by Highland Capital Management and the Debtors in each case. While we have
some reservations about the relevance of certain exhibits (and are still conferring with our client and reserve all rights),
our preliminary view is that we do not object to the exhibits on your lists. They are primarily, if not exclusively, court
filings.

Please let us know if any party has objections to the witnesses and exhibits on the lists. So that we can confer if
necessary in advance of the hearing, I request to have confirmation on any objections by 5 PM today. We will provide
you with confirmation of our position on objections by that time as well.

Thank you,
Jeremy

Jeremy A. Root
Partner
Pronouns: He/Him
Jefferson City
573.556.3609
x63609




                                                              1
                                                                                                          App. 025
